                      Exhibit 3




Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 1 of 24
                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

RHONDA BURNETT, JEROD BREIT, HOLLEE ELLIS,
FRANCES HARVEY, and JEREMY KEEL, on behalf of
themselves and all others similarly situated,

                  Plaintiffs,

       v.
                                                                   Case No. 19-CV-00332-SRB
THE NATIONAL ASSOCIATION OF REALTORS,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, RE/MAX LLC, and KELLER
WILLIAMS REALTY, INC.,

                  Defendants.




                      DECLARATION OF JENNIFER M. KEOUGH
                       REGARDING PROPOSED NOTICE PLAN


I, Jennifer M. Keough, declare as follows:

       1.     I am Chief Executive Officer, President, and Co-Founder of JND Legal

Administration LLC (“JND”). I have more than 20 years of legal experience creating and

supervising notice and claims administration programs and have personally overseen well over

1000 matters. I am regularly called upon to submit declarations in connection with JND’s notice

and administration work.

       2.     I submit this Declaration based on my personal knowledge, as well as upon

information provided to me by experienced JND employees and Counsel for the Plaintiffs and

Defendants, to describe the proposed Notice Program and address why it is consistent with other

best practicable court approved notice plans and the requirements of Rule 23 of the Federal Rules




      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 2 of 24
of Civil Procedure (“Rule 23”), the Due Process Clause of the United States Constitution, and any

other applicable statute, law or rule, as well as the Federal Judicial Center (“FJC”) guidelines for

best practicable due process notice.

                                  RELEVANT EXPERIENCE

       3.      JND is a leading legal administration services provider with its headquarters in

Seattle, Washington and other offices within the United States. JND’s class action division

provides all services necessary for the effective implementation of class actions, including: (1) all

facets of legal notice to potential class members, such as developing the final class members list

and addresses for them, outbound mailing, email notification, and the design and implementation

of media programs; (2) website design and deployment, including online claim filing capabilities;

(3) call center and other contact support; (4) secure class member data management; (5) paper and

electronic claims processing; (6) calculation design and programming; (7) payment disbursements

through check, wire, PayPal, merchandise credits, and other means; (8) qualified settlement fund

tax reporting; (9) banking services and reporting; and (10) all other functions related to the secure

and accurate administration of class actions.

       4.      JND is an approved vendor for the United States Securities and Exchange

Commission (“SEC”), the Federal Trade Commission (“FTC”), and the Consumer Financial

Protection Bureau (“CFPB”). In addition, we have worked with a number of other government

agencies including the U.S. Equal Employment Opportunity Commission (“EEOC”), the Office

of the Comptroller of the Currency (“OCC”), the Federal Deposit Insurance Corporation (“FDIC”),

the Federal Communications Commission (“FCC”), the Department of Justice (“DOJ”), and the

Department of Labor (“DOL”). We also have Master Services Agreements with various

corporations and banks which were only awarded after JND underwent rigorous reviews of our




                                     2
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 3 of 24
systems, privacy policies, and procedures. JND has also been certified as SOC 2 Type 2 compliant

by noted accounting firm Moss Adams.1

           5.       JND has been recognized by various publications, including the National Law

Journal, the Legal Times, and the New York Law Journal, for excellence in class action

administration. JND was named the #1 Class Action Claims Administrator in the U.S. by the

national legal community for multiple consecutive years, and we were inducted into the

National Law Journal Hall of Fame in 2022 and 2023 for having held this title. JND was also

recognized last year as the Most Trusted Class Action Administration Specialists in the

Americas by New World Report (formerly U.S. Business News) in the publication’s 2022 Legal

Elite Awards program.

           6.       The principals of JND collectively have over 80 years of experience in class action

legal and administrative fields. JND has overseen the administration of some of the most complex

administration programs in the country and regularly prepare and implement court-approved notice

campaigns throughout the United States.

           7.       JND was appointed as the notice and claims administrator in the landmark

$2.67 billion Blue Cross Blue Shield antitrust settlement in which we mailed over 100 million

postcard notices; sent hundreds of millions of email notices and reminders; placed notice via print,

television, radio, internet, and more; staffed a call center with 250 agents during the peak of the

notice program; and received and processed more than eight million claims. I am the Court-

appointed notice expert in that case. JND was also appointed the settlement administrator in the

$1.3 billion Equifax Data Breach Settlement, where we received more than 18 million claims and

I supervised all aspect of direct notice. Email notice was sent twice to over 140 million class



1
    As a SOC 2 Compliant organization, JND has passed an audit under AICPA criteria for providing data security.


                                         3
          Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 4 of 24
members, the interactive website received more than 130 million hits, and the call center was

staffed with 1,500 agents at the peak of call volume.

       8.      Other large JND matters include a voluntary remediation program in Canada on

behalf of over 30 million people; the $1.5 billion Mercedes-Benz Emissions Settlements; the

$120 million GM Ignition Switch Settlement, where we mailed nearly 30 million notices and

processed over 1.5 million claims; and the $215 million USC Student Health Center Settlement on

behalf of women who were sexually abused by a doctor at USC; as well as hundreds of other matters.

       9.      Prior to forming JND with my partners, I was involved in many other large-scale

notice and claims programs. For example, my team and I handled all aspects of mailed notice,

website activities, call center operations, claim intake, scanning and data entry, and check

distribution for the $20 billion Gulf Coast Claims Facility. In the $10+ billion BP Deepwater Horizon

Settlement, I worked directly for Patrick Juneau, the Court-appointed claims administrator, in

overseeing all inbound and outbound mail activities, all call center operations, all claim intake,

scanning and data entry and all check distributions for the program. I oversaw the entire

administration process in the $3.4 billion Cobell Indian Trust Settlement (the largest U.S.

government class action settlement ever).

       10.     JND’s Legal Notice Team, which operates under my direct supervision, researches,

designs, develops, and implements a wide array of legal notice programs to meet the requirements

of Rule 23 and relevant state court rules. In addition to providing notice directly to potential class

members through direct mail and email, our media campaigns, which are regularly approved by

courts throughout the United States, have used a variety of media including newspapers, press

releases, magazines, trade journals, radio, television, social media, and the internet depending on




                                     4
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 5 of 24
the circumstances and allegations of the case, the demographics of the class, and the habits of its

members, as reported by various research and analytics tools.

       11.     During my career, I have submitted several hundred declarations to courts

throughout the country attesting to our role in the creation and launch of various notice programs.

Particularly relevant here, I submitted a declaration regarding the proposed notice plan and JND

was appointed as the Settlement Administrator for the RE/MAX, Anywhere, and Keller Williams

Settlements. The notice elements we are proposing here are substantially similar to what we

designed and implemented for the RE/MAX, Anywhere, and Keller Williams Settlements.

                                    SETTLEMENT CLASS

       12.     JND has been asked by the Parties to prepare a Notice Program to reach Settlement

Class Members in the National Association of Realtors Settlement and inform them about their

rights and options in the proposed Settlement. This Notice Program may easily be done in

conjunction with providing notice related to other forthcoming settlements.

       13.     According to the National Association of Realtors Settlement Agreement, the

Settlement Class consists of all persons who will be certified by the Court for settlement purposes

only, namely, all persons who sold a home that was listed on a multiple listing service (“MLS”)

anywhere in the United States where a commission was paid to any brokerage in connection with

the sale of the home in the following date ranges:

               a.     Moehrl MLSs: March 6, 2015 to date of Class Notice;

               b.     Burnett MLSs: April 29, 2014 to date of Class Notice;

               c.     MLS PIN: December 17, 2016 to date of Class Notice;

               d.     Homes in Arkansas, Kentucky, and Missouri, but not on the Moehrl MLSs,

       the Burnett MLSs, or MLS PIN: October 31, 2018 to date of Class Notice;




                                     5
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 6 of 24
                  e.       Homes in Alabama, Georgia, Indiana, Maine, Michigan, Minnesota, New

         Jersey, Pennsylvania, Tennessee, Vermont, Wisconsin, and Wyoming, but not on the

         Moehrl MLSs, the Burnett MLSs, or MLS PIN: October 31, 2017 to date of Class Notice;

         and

                  f.       All other homes: October 31, 2019 to date of Class Notice.

                                   NOTICE PROGRAM SUMMARY

         14.      The proposed Notice Program has been designed to provide the best notice

practicable, consistent with the methods and tools employed in other court-approved notice

programs. The FJC’s Judges’ Class Action Notice and Claims Process Checklist and Plain

Language Guide considers a notice plan with a 70%-95% reach effective.2

         15.      The proposed Notice Program mirrors the programs in the Anywhere, RE/MAX

and Keller Williams Settlements and consists of the following components:

                  a.       Direct notice to all Settlement Class Members for whom the Settling

         Defendants provide contact information or for whom contact information is located via

         other means (e.g. third-party data).

                  b.       A targeted digital effort with the leading digital network (Google Display

         Network – “GDN”), the top social media platform (Facebook), and a respected programmatic

         partner (OMTD).

                  c.       A notice placement in a popular consumer magazine (Better Homes &

         Gardens).




2
 Reach is the percentage of a specific population group exposed to a media vehicle or a combination of media vehicles
containing a notice at least once over the course of a campaign. Reach factors out duplication, representing total
different net persons.


                                      6
       Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 7 of 24
               d.     Additional efforts including an internet search campaign to assist interested

       Settlement Class Members in finding the case website, the distribution of a national press

       release, and sponsorships with popular class action websites (TopClassActions.com and

       ClassAction.org).

               e.     A claims stimulation effort that will include the sending of multiple

       email notices reminding potential Settlement Class Members of the approaching claims

       deadline.

               f.     An established case-specific Settlement website where information about

       the Settlement, as well as copies of relevant case documentation, including but not limited

       to the Settlement Agreement, the Plan of Distribution (once submitted to the Court), the

       Long Form Notice, and the Claim Form, will be accessible to Settlement Class Members.

       Settlement Class Members will also be encouraged to file claims online through a secure

       portal on the website.

               g.     An established toll-free telephone number with an Interactive Voice

       Recording system (“IVR”) that Settlement Class Members may call to obtain more

       information about the Settlement and request copies of the Long Form Notice and Claim

       Form. The IVR recording will be comprehensive; however, if operators become desired,

       JND will accommodate.

               h.     The creation of a QR Code (a matrix barcode) that will allow quick and

       direct access to the Settlement website through a mobile device.

       16.     Throughout the Notice Program, JND will monitor, adjust, and/or optimize as

needed to achieve the desired goals.




                                     7
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 8 of 24
        17.     Based on my experience in developing and implementing class notice programs, I

believe the proposed Notice Program will meet, and in fact exceed, the standards for providing the

best practicable notice in class action settlements.

        18.     Each component of the proposed Notice Program is described in more detail in the

sections below.

                                        DIRECT NOTICE

        19.     An adequate notice plan needs to satisfy “due process” when reaching a class. The

United States Supreme Court, in Eisen v. Carlisle & Jacquelin, 417 U.S. 156 (1974), stated that

direct notice (when possible) is the preferred method for reaching a class. In addition, Rule 23(c)(2)

of the Federal Rules of Civil Procedure provides that “the court must direct to class members the

best notice that is practicable under the circumstances, including individual notice to all members

who can be identified through reasonable effort. The notice may be by one or more of the

following: United States mail, electronic means, or other appropriate means.”

        20.     As a result, at my direction, JND staff will effectuate direct individual notice to all

members of the Settlement Class for whom Settling Defendants provide contact information or for

whom we were able to obtain such information through other means. Courts have approved notice

programs in which email is the primary method of delivering notice to class members.

        21.     Email notice will be sent to all Settlement Class Members for whom an email address

is available.

        22.     For those Settlement Class Members where an email address is unavailable or

where the email bounces back and cannot be ultimately delivered, JND proposes sending a

Postcard Notice.




                                      8
       Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 9 of 24
         23.       Both the Email Notice and the Postcard Notice will be modeled off of the long form

notice and will identify and direct Settlement Class Members to an interactive Settlement website

where they can review the Settlement Agreement, and other key documents in the case, and initiate

the claims process (a hard copy claim form may also be requested).

         24.       Both the Email Notice and the Postcard Notice will include a Spanish-language

tag that will direct Spanish-speaking Settlement Class Members to the Settlement website for a

notice in Spanish.

         25.       Importantly, whether a Settlement Class Member is sent direct notice by email or

postcard, the notice will satisfy the Federal Rules of Civil Procedure and due process.

         Email Notice

         26.       Prior to sending the Email Notice, JND will evaluate the email for potential spam

language to improve deliverability. This process includes running the email through spam testing

software, DKIM3 for sender identification and authorization, and hostname evaluation.

Additionally, we will check the send domain against the 25 most common IPv4 blacklists.4

         27.       JND uses industry-leading email solutions to achieve the most efficient email

notification campaigns. Our Data Team is staffed with email experts and software solution teams

to conform each notice program to the particulars of the case. JND provides individualized support

during the program and manages our sender reputation with the Internet Service Providers

(“ISPs”). For each of our programs, we analyze the program’s data and monitor the ongoing

effectiveness of the notification campaign, adjusting the campaign as needed. These actions ensure



3
 DomainKeys Identified Mail, or DKIM, is a technical standard that helps protect email senders and recipients from
spam, spoofing, and phishing.
4
  IPv4 address blacklisting is a common practice. To ensure that the addresses being used are not blacklisted, a verification
is performed against well-known IP blacklist databases. A blacklisted address affects the reputation of a company and
could cause an acquired IP addresses to be blocked.


                                       9
       Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 10 of 24
the highest possible deliverability of the email campaign so that more potential Settlement Class

Members receive notice.

       28.     For each email campaign, including this one, JND will utilize a verification

program to eliminate invalid email and spam traps that would otherwise negatively impact

deliverability. We will then clean the list of email addresses for formatting and incomplete

addresses to further identify all invalid email addresses.

       29.     To ensure readability of the email, our team will review and format the body content

into a structure that is compatible with all email platforms, allowing the email to pass easily to the

recipient. Before launching the email campaign, we will send a test email to multiple ISPs and

open and test the email on multiple devices (iPhones, Android phones, desktop computers, tablets,

etc.) to ensure the email opens as expected.

       30.     Additionally, JND will include an “unsubscribe” link at the bottom of the email

to allow Settlement Class Members to opt out of any additional email notices from JND. This

step is essential to maintain JND’s good reputation among the ISPs and reduce complaints

relating to the email campaign.

       31.     Emails that are returned to JND are generally characterized as either “Hard

Bounces” or “Soft Bounces.” A Hard Bounce occurs when the ISP rejects the email due to a

permanent reason such as the email account is no longer active. A Soft Bounce occurs when the

email is rejected for temporary reasons, such as the recipient’s email address inbox is full.

       32.     When an email is returned due to a Soft Bounce, JND attempts to re-send the email

notice up to three additional times in an attempt to secure deliverability. If the Soft Bounce email

continues to be returned after the third re-send, the email is considered undeliverable. Emails that

result in a Hard Bounce are also considered undeliverable.




                                     10
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 11 of 24
        Postcard Notice

        33.      JND will send a color Postcard Notice to known Settlement Class Members

provided by Defendants for whom an email address is not available or for whom the Email Notice

was deemed ultimately undeliverable. In my experience, the use of color will help differentiate the

postcard from junk mail.

        34.      Prior to sending the Postcard Notice, JND staff will run the mailing addresses

through the United States Postal Service (“USPS”) National Change of Address (“NCOA”)

database.5 At my direction, JND staff will track all Postcard Notices returned undeliverable by the

USPS and will promptly re-mail Postcard Notices that are returned with a forwarding address.

Also, with my oversight, JND staff will take reasonable efforts to research and determine if it is

possible to reach a Settlement Class Member for whom the Postcard Notice is returned without a

forwarding address by mailing to a more recent mailing address at which the potential Settlement

Class Member may be reached.

                                              MEDIA NOTICE

        35.      In addition to the direct notice effort, JND proposes a robust media campaign that

alone will reach at least 70% of potential members of the Settlement Class.

        36.      The media campaign consists of a targeted digital effort with GDN, Facebook, and

OMTD, as well as a print notice placement in a popular consumer magazine (e.g., Better Homes

& Gardens).

        Media Resources




5
  The NCOA database is the official USPS technology product which makes change of address information available
to mailers to help reduce undeliverable mail pieces before mail enters the mail stream. This product is an effective
tool to update address changes when a person has completed a change of address form with the USPS. The address
information is maintained on the database for 48 months.


                                     11
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 12 of 24
       37.     JND utilizes the most reputable advertising media research tools to ensure that the

best media is selected and that our reach calculations can withstand the most critical review and

challenge. The media research tools we utilized in our analysis and will use to implement the media

campaign include MRI, ComScore, Google Active View, Google Analytics, Google Tag Manager,

and The Trade Desk.

       38.     MRI data was used to analyze the demographics and media usage of potential

Settlement Class Members, as well as to determine the reach of our proposed print effort.

Understanding who we are trying to reach is key in determining how best to reach them. MRI is a

nationally accredited research firm that provides consumer demographics, product and brand

usage, and audience/exposure in all forms of advertising media through probabilistic and address-

based sampling. MRI is the leading producer of media and consumer research in the United States.

       39.     JND used Comscore data to not only analyze where potential Settlement Class

Members are spending time on the internet, but more importantly, for calculating the reach of our

proposed digital effort. Comscore’s multi-reach platform allows us to analyze unduplicated

audiences (net reach) across multiple platforms (e.g., Google, Facebook) and devices (desktop and

mobile). Through the platform, we were able to assess the efficiency and effectiveness of our

proposed media plan by reducing waste and improving campaign performance across all devices.

       40.     At the time of implementation, our digital experts will verify and monitor our

digital placements. Google Active View, which is accredited by the Media Rating Council (MRC),

will be used to measure viewable impressions across the web and in apps. Google Active View

supports the Interactive Advertising Bureau (IAB) and MRC definition of viewability―a

minimum of 50% of the ad is in view for a minimum of one second for display ads. In addition,

over a hundred complex algorithms will be used to spot bad traffic as it happens to prevent invalid




                                    12
     Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 13 of 24
clicks, impressions, views, or interactions. These efforts prevent impressions from being served

and counted when they have not been loaded onto a person’s screen.

       41.     JND will place a Google Analytics pixel across all case landing pages to monitor

and track website traffic. Through the use of Google Analytics and custom UTM codes, our digital

experts will be able to monitor the number of website visits, average time spent per visit, and the

number of pages visited per session. Data will be broken down by source, or referring website, in

order to make optimizations based on media placements that are driving the longest time on site

and the largest number of claim form submissions. Demographic data such as age and gender, will

be reviewed and optimized towards those groups who prove to be the most responsive and

interactive with the case website.

       42.     JND will also place a ‘Container Tag’ across all case landing pages using Google

Tag Manager, a tag management system (TMS) that allows advertisers to place and update

measurement codes and code fragments on a landing page from a single source. With these codes

placed within the container, website data is passed back to advertising platforms (such as Meta,

Google, The Trade Desk), allowing machine learning to take place, optimizing towards placements

and audiences that are driving site traffic and claim form submissions. All data collected through

Google Tag Manager adheres to Google’s Privacy Policies and Principles. No personal identifiable

information (PII) is collected.

       43.     JND places media through The Trade Desk, the leading Demand Side Platform

(DSP) that champions transparency, as well as industry-wide collaboration and innovation. The

Trade Desk provides JND the same buying power/access to inventory as the biggest Fortune 100

companies. JND has access to nearly any website’s banner inventory, streaming video, streaming

audio and OTT (over-the-top) inventory. Through The Trade Desk’s countless partnerships with




                                     13
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 14 of 24
data providers, JND also has access to leading technology to target and reach audiences based on

criteria such as recent/frequent browsing habits, purchase data, recent and frequent geo locations,

and more.

        Target Analysis

        44.      JND analyzed the demographics and media usage of potential Settlement Class

Members to determine how best to reach them. MRI data does not measure home sellers; however,

data is available for adults 18 years of age or older (Adults 18+) who are current homeowners

("Homeowners").

        45.      Among other things, MRI data indicated that Homeowners are active internet users,

with 98% using the internet and 67% visiting Facebook in a 30-day period. In terms of devices,

91% use their cellphone or smartphone to access the internet.

        46.      JND considered these and other key demographics and media usage when

designing our Notice Program and selecting targets.

        Digital Effort

        47.      The proposed digital effort consists of placements with GDN, the leading digital

network; Facebook, the top social media platform; and OMTD, a respected programmatic partner.

A total of 311 million digital impressions will be served among adults 35 years of age or older

(“Adults 35+”) with focused targeting included.6

        48.      To concentrate our efforts on reaching potential Settlement Class Members, GDN

impressions will specifically target homeowners and/or users who have searched on Google for

key terms related to this matter, such as Burnett, Moehrl, Sitzer, NAR, National Association of



6
 Impressions or Exposures are the total number of opportunities to be exposed to a media vehicle or combination of
media vehicles containing a notice. Impressions are a gross or cumulative number that may include the same person
more than once. As a result, impressions can and often do exceed the population size.


                                     14
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 15 of 24
Realtors, National Association of Realtors Settlement. A portion of the Facebook impressions will

specifically target users who recently moved or expressed an interest in things related to this matter

such as a homeowner association, a moving company, home renovations, real estate, investing,

home improvement and/or National Association of Realtors. The programmatic impressions on

OMTD will emphasize Adults 35-64 and will target users based on “length of residency” being

between 3-10 years and those who are likely homeowners or sold a house one or more years ago

to narrow our focus on potential Settlement Class Members.

       49.     Multiple targeting strategies will also be used to increase the effectiveness of our

digital effort, including the following techniques:

               a.      Predictive Targeting (GDN only) uses multiple data points (search queries,

       sites visited, and digital behavior trends) to make inferences regarding future

       behavior/performance for a given campaign.

               b.      Look-a-like Targeting (LAL) to individuals whose characteristics match

       that of individuals who have visited the case website and/or submitted an online claim.

               c.      Audience Targeting optimizes efforts based on demographics, behavior,

       and interests of potential Settlement Class Members.

               d.      Geotargeting optimizes efforts based on the location of potential Settlement

       Class Members.

               e.      Keyword Targeting allows targeting to users based on their search queries,

       recent social media posts or engagement with websites or posts that feature specific

       keywords.

               f.      Machine Learning will be used across all digital media platforms in order

       to optimize campaigns in real time based on placements, times of day and sub-targets




                                     15
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 16 of 24
       within the larger demo and geo target that are likely to drive claim form submissions.

       50.     The digital activity will be served across all devices (desktop, laptop, tablet and

mobile), with a heavy emphasis on mobile devices. The digital ads will directly link to the

Settlement website, where Settlement Class Members may access more information about the

Settlement, including the Long Form Notice, as well as file a claim electronically.

       Print Effort

       51.     Print media will include a notice placement in Better Homes & Gardens magazine,

a highly read consumer lifestyle magazine. Better Homes & Gardens publishes monthly with a

circulation of 3.1 million and a readership of 18 million. It reaches 11% of Adults 35+ and extends

reach to older homeowners who may not frequent the internet. A QR code will appear in the print

ad for easy, direct access to the Settlement website through mobile devices.

                                   ADDITIONAL EFFORTS

       52.     JND will undertake additional efforts to further disseminate notice to Settlement

Class Members, including an internet search campaign, a national press release, and sponsorships

with popular class action websites.

       53.     Given that web browsers frequently default to a search engine page, search engines

are a common source to get to a specific website (i.e., as opposed to typing the desired URL in the

navigation bar). As a result, JND proposes a Google search effort to assist interested Settlement

Class Members in finding the case website. The Keyword List utilized with GDN will be applied

and expanded to include additional keywords based on content on the case website landing page,

the legal names of the cases, as well as other case information. These keywords are words/phrases

that are bid on when they match the search term (or a variation of the search term) a person types

into their Google search bar. When a search term matches to a keyword or phrase, a Responsive




                                    16
     Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 17 of 24
Search Ad (RSA) may be served, generating a tailored message relevant to the search term. RSAs

utilize machine learning to pair various combinations of ad copy (headlines and descriptions) based

on which groupings have worked well previously (i.e., produced a strong CTR/conversion

performance), and what the platform anticipates will generate the ideal results from the unique

searcher. When the RSA is clicked on, the visitor will be redirected to the case website where they

can get more information.

       54.     To further assist in getting “word of mouth” out about the case, JND proposes the

distribution of a press release at the start of the campaign to over 11,000 media outlets nationwide.

       55.     Certain class action websites are frequented for updates on class action lawsuits.

These sites, help drive potential class members to the case specific website. As a result, we propose

sponsorship opportunities with TopClassActions.com and ClassAction.org.

                              CLAIMS STIMULATION EFFORT

       56.     Prior to the claim filing deadline, JND’s team will initiate an effort to encourage

Settlement Class Members to submit claims and to remind them of the impending deadline.

       57.     The claims stimulation effort will include sending multiple reminder email notices

to potential Settlement Class Members who have yet to take action (i.e., file a claim and/or exclude

themselves from the Settlements).

       58.     Additional digital efforts may also be considered such as (1) an audience custom

list, (2) retargeting and/or (3) look-alike targeting. Digital banner ads may be sent to potential

Settlement Class Members who visited the Settlement website but did not complete a claim

submission (retargeting), as well as to individuals who demographically/geographically match

with those Settlement Class Members who have already filed online claims (look-alike targeting).




                                    17
     Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 18 of 24
JND will monitor the Settlement website traffic and utilize that information if a digital claims

stimulation effort is needed.

                                   SETTLEMENT WEBSITE

       59.     At my direction, JND created an informational, interactive Settlement website

where potential Settlement Class Members can obtain more information about their rights and

options under the Settlements and submit claims. Information regarding this Settlement will be

incorporated      into      the      existing      Settlement       website.      The       website,

www.RealEstateCommissionLitigation.com, has an easy-to-navigate design and is formatted to

emphasize important information and deadlines. The Settlement website contains, among other

things, information about the Settlements, a Frequently Asked Questions section, a list of

Important Dates and Important Documents, the ability to download a Long Form Notice and

Claim Form in both English and Spanish, the ability to submit claims electronically through a

secure claims filing portal, and information about how Settlement Class Members can access the

toll-free telephone number.

       60.     The Settlement website is mobile-enabled and ADA compliant, and will undergo

significant penetration testing to make sure that the site cannot be breached as well as load testing

to make sure that the site will be able to accommodate the expected traffic from a class this large.

It will also be designed to maximize search engine optimization through Google and other search

engines.

                              DEDICATED TOLL-FREE NUMBER

       61.     JND established and will maintain a dedicated toll-free telephone number with an

automated IVR, available 24 hours a day, seven days a week, which will provide Settlement-




                                    18
     Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 19 of 24
related information to Settlement Class Members, and the ability to request and receive the notices

and the claim form by mail.

        62.     The Settlement website and IVR recordings will be designed to be comprehensive,

answering all common questions; however, if operators become desired, JND will accommodate

that need by providing an option to speak with a Customer Service Representative. JND has

multiple call center sites, all in the United States, and can ensure enough staffing and redundancy

to handle any volume of calls we receive on this matter.

                              DEDICATED POST OFFICE BOXES

        63.     JND established two separate United States Post Office Boxes: one dedicated for

Settlement Class Members to submit letters, inquiries, and claim forms; and one dedicated strictly to

receive exclusion requests, which will be utilized for this Settlement.

                                              QR CODE

        64.     JND created a QR Code (a matrix barcode) that will allow quick and direct access

to the Settlement website through mobile devices. The QR Code is included, where practicable, in

printed notice documents (i.e., the email, postcard, and print publication notices).

                                               REACH

        65.     The proposed media effort alone is designed to reach at least 70% of potential

Settlement Class Members. The extensive direct notice effort, internet search campaign,

distribution of the national press release, class action sponsorship opportunities, and claims

stimulation effort will extend the reach further. The proposed Notice Program is similar to and,

indeed, more robust than that of other court approved programs and meets the high reach standard

set forth by the FJC.




                                     19
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 20 of 24
                             NOTICE DESIGN AND CONTENT

       66.     I reviewed and provided input to the Parties on the form and content for each of the

notice document exhibits in the RE/MAX, Anywhere, and Keller Williams Settlements, and it is my

understanding that the form of the notice and claim form will be substantially similar to the

documents used in the previous Settlements. Based on my experience designing court-approved class

notice programs, if the notice documents for this Settlement are substantially similar to the notice

documents previously used, then in my opinion, each of these notice documents will comply with

Rule 23, the Due Process Clause of the United States Constitution, and any other applicable statute,

law, or rule, as well as the FJC’s Judges’ Class Action Notice and Claims Process Checklist and

Plain Language Guide.

       67.     Each of the notice documents will contain easy-to-read summaries of the Settlement

and the options that are available to Settlement Class Members. Additionally, the notice documents

will provide instructions on how to obtain more information about the Settlement.

       68.     The Long Form Notice will be posted on the Settlement website and will be

available by mail if requested. It will provide details regarding, among other things, the nature of

the action; who is in the Settlement Class; general descriptions of the claims asserted and

references to the defenses of Settling Defendants; the monetary relief afforded by the Settlement

Agreement; the right of Settlement Class Members to obtain counsel, object to the Settlement, or

exclude themselves from the Settlement; and the binding effect of the Settlement on Settlement

Class Members. The Long Form Notice will also provide, inter alia, details on when claims and

objections are due, how and when to opt-out, how and where to seek additional information, and

how to submit a claim.




                                    20
     Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 21 of 24
       69.     The Email Notice and Postcard Notice will provide, among other things, a summary

of what the lawsuit is about, who is affected, what a Settlement Class Member may receive from

the Settlement, the deadline by which a claim should be submitted, other options (opting out and

objecting), and how and where to obtain more information.

       70.     To the extent that some Class Members may speak Spanish as their primary

language, the print notice documents will include a subheading in Spanish at the top directing

Spanish speaking Settlement Class Members to visit the Settlement website for a notice in Spanish.

                                         CLAIM FORM

       71.     The Claim Form will explain the claims process, is designed to ensure that filing a

claim is as simple as possible and will be sent to any individual who requests a written form.

However, the direct notice portion of the Notice Program is designed to drive claimants to the

Settlement website where they can utilize an interactive process for claims submission. Online

claim forms not only save substantial money in postage but are generally favored by claimants

since the wizard feature of the process will walk them through the form step by step and will be

very user-friendly. The online claim form process will prevent claimants from submitting an

electronic claim without clicking necessary verifications such as signature. Electronic claims also

eliminate the step of manual data entry and generally make processing easier and less expensive.

       72.     The interactive Claim Form will be accessed through a secure portal and will

request the same information from claimants that is set forth in the printed Claim Form. The

interactive Claim Form will also be designed to ensure that required information is provided before

a claimant can move onto the next step of the Claim Form.

       73.     Broadly stated, to complete the Claim Form, the claimant will provide their name

and contact information as well as identify, to the extent possible, information about the home sale,




                                    21
     Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 22 of 24
such as the address of the home sold, date of sale, amount of the total commission paid, and any

documents to support the proof of payment.

       74.     All claimants may submit Claim Forms electronically through the Settlement website

or physically by mail to the established Settlement P.O. Box.

                               OBJECTIONS AND OPT-OUTS

       75.     Members of the Settlement Class may object to the Settlement. Settlement Class

Members may also exclude themselves (“opt-out”) entirely. The Long Form Notice explains these

legal rights (and others) to Settlement Class Members.

       76.     Any member of the Settlement Class who wishes to object to any aspect of the

Settlement must send to Class Counsel, Defendants’ Counsel, and file with the Court, a written

statement of its objection. The objection must include the case name and number (Burnett, et al.,

v. National Ass’n of Realtors, et al., Case No. 19-CV-00332-SRB (W.D. Mo.)), the Settlement

Class Member’s name, address, telephone number, signature, and the reasons that they object to

the Settlement.

       77.     Any Settlement Class Member may also opt out of the Settlement. To do so,

Settlement Class Members must submit a written request to JND stating their intent to exclude

themselves from the Settlement. The exclusion request must include the Settlement Class

Member’s present name, address, and telephone number; a statement that they wish to be

excluded from the Settlement; and their handwritten signature. If the Settlement Class Member

is deceased or incapacitated, the signature of the legally authorized representative of the

Settlement Class Member must be included.




                                    22
     Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 23 of 24
                                         CONCLUSION

        78.     In my opinion, the Notice Program provides the best notice practicable under the

circumstances, is consistent with the requirements of Rule 23, and is consistent with other similar

court-approved best notice practicable notice programs. The Notice Program is designed to reach

as many Settlement Class Members as possible and inform them about the Settlement and their

rights and options, and provide them with the opportunity to review a plain language notice with

the ability to easily take the next step and learn more about the Settlement.


I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

        Executed on April 16, 2024, in Seattle, Washington.



                                           ____________________________________________
                                           JENNIFER M. KEOUGH




                                     23
      Case 4:19-cv-00332-SRB Document 1458-3 Filed 04/19/24 Page 24 of 24
